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EXHIBIT B
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biokdng - TAL 5. DISTRICT COURT
FOR THE Tes TRYGY OF MASSACHUSETTS

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UNITED STATES OF AMERICA )
ex rel. DAVID FRANKLIN, )
Plaintiff ) COMPLAINT
)
Vv. ) FILED UNDER SEAL
) PURSUANT TO
PARKE-DAVIS, DIVISION ) 31 U.S.C. § 3730
OF WARNER-LAMBERT COMPANY, ) . c
Defendant ) Pedi TIEe BEM S

A wuRryY TRIAL

I.
PARTIES

1. David Franklin is a resident of the Commonwealth “ot

Massachusetts and a former employee of Parke-Davis Division of
Warner Lambert Company. David Franklin is the original source of
the facts and information hereinafter set forth concerning the
activities of the defendant. The facts averred herein are based
entirely upon his personal observation and documents in his
possession.

2. Parke-Davis Division of  Warner-Lambert Company
(hereinafter "Parke-Davis") is a corporation with its principal
place of business in Morris Plains, New Jersey. Parke-Davis is
principally engaged in the manufacture and sale of pharmaceuticals

including prescription pharmaceuticals falling under the

jurisdiction and regulation of the U.S. Food and Drug
Administration,
If.
JURISDICTION

3. Jurisdiction is based on 31 U.S.C. § 3730.
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4. At all times material hereto Parke-Davis regularly
conducted substantial business within the Commonwealth of
Massachusetts, maintained permanent employees and offices, and made
and is making significant sales within Massachusetts, and is thus
subject to personal Jurisdiction in the Commonwealth of
Massachusetts pursuant to Massachusetts General Laws C. 223A § 3.

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FACTS

5. The relator has prepared, and will serve with this
complaint, a disclosure pursuant to 31 U.S.C. § %3730(2) of
information in his possession and of which he is the original
source.

6. In 1994 Parke-Davis obtained approval from the U.S. Food
and Drug Administration (hereinafter the "FDA") to market the
prescription drug gabapentin. Parke-Davis had acquired the patent
rights to gabapentin from another company. Those patent rights
will expire in the near future, even though FDA approval of the use
of the drug was only recently obtained. The FDA approved gabapentin
for use as an adjunct to standard antiepileptic drugs in adults, in
dosages of 900 to 1800 mg/d. Parke-Davis thereafter began marketing
the drug under the brand name "neurontin", The FDA has not approved
the use of gabapentin for any other purpose or in any other dosage.
The FDA approved use of gabapentin represents a relatively narrow
market, since it includes only persons suffering from seizures who

are not fully responsive to the usual medications and who require

additional medication.

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7. Under applicable statutes and regulations, the
manufacturer of a prescription drug regulated by the FDA may not
promote or market the use of the drug for purposes or in dosages
other than those approved by the FDA. Uses of a prescription drug
for purposes other than those approved by the FDA are referred to
as "off-label" uses. Promotion by a drug manufacturer of "off-
label" uses of prescription drugs is strictly illegal and contrary
to the explicit policies and regulations of the United States
Government.

8. After achieving FDA approval of gabapentin, Parke-Davis
formed a scheme to increase the sales of gabapentin while avoiding
the substantial expense and delay of petitioning the FDA for
approval of expanded or additional uses of gabapentin. The scheme
consisted of an elaborate and clandestine promotion of off-label
uses of gabapentin, all in direct contravention of rules and
regulations of the FDA and the Health Care Finance Agency, and in
particular for the off-label uses of pain control, mono-therapy for
seizures using extremely high doses, control of bi-polar disease,

attention deficit disorder, and other diseases and conditions.

9. This scheme was carried out by employing, among other
things:
a. illegal kickbacks to physicians who prescribed large

amounts of gabapentin for "off-label" purposes to

patients whose prescriptions were paid for by medicare or

medicaid;

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the formation of a nationwide network of employees
falsely referred to as "medical liaisons" whose actual
assigned duties consisted entirely of conventional direct
sales activities and which did not include any legitimate
scientific activity;

the illegal direct solicitation of physicians for off-
label uses;

the making of false statements to physicians and
pharmacists concerning the efficacy and safety of
gabapentin for off-label uses;

the making of such false statements directly to the
Veterans Administration concerning the safety and
efficacy of gabapentin for off label uses;

the charging of full price for drugs actually being used
in experimental trials and thus subject to federal price
restriction;

the systematic avoidance of filing requirements with the
FDA;

the deliberate avoidance of the FDA’s classification of
gabapentin as to its therapeutic equivalency and thus the
avoidance of medicare and medicaid price limitations
based on therapeutic equivalency;

the use of active concealment to avoid the FDA’s
enforcement mechanisms and the resultant mandatory

interruption of medicare and medicaid payments for

gabapentin prescriptions;

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4. the use of active concealment to avoid the "formulary"
policies of various state agencies administering medicare
and medicaid programs and which are intended to refuse
payment for uses of drugs which are not medically
recognized as statutorily defined;

k. the payment or offering of gratuities to Parke-Davis

employees in order to procure their silence;

l. the active training of Parke-Davis employees in methods

of avoiding detection of their activities by the FDA.

10. Parke-Davis’ sales of gabapentin are projected to exceed
$150 million annually by the end of 1996. Approximately 50% of
these sales are accounted for by off-label use of gabapentin. This
rapid growth in off-label use of gabapentin is a direct result of
Parke-Davis’ illegal marketing activities. Of all of the off-label
use of gabapentin, more than 50% is accounted for by patients whose
prescriptions are paid for, directly or indirectly, by the United
States, in the form of reimbursements thru medicare and medicaid,
and purchases by the Veterans Administration. The United States is
currently paying between $30 and $40 million per year for off-label
uses of gabapentin not authorized by the FDA.

11. The off-label uses of gabapentin which are actively being
promoted by Parke-Davis are uses which are not recognized as
medically accepted uses by the American Hospital Formulary Service
Drug Information, the United States Pharmacopeia-Drug Information,

or the American Medical Association Drug Evaluations, or by any

peer-reviewed medical literature. Thus, these off-label uses are

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beyond the scope of uses designated by federal law and regulation,
in particular 42 U.S.C. § 1396r-8, as eligible coverage by the
medicare and medicaid programs.

12. There is no valid scientific evidence to support the
contention that gabapentin is safe and effective for pain, for
mono-therapy for seizures, for bi-polar disorder, for attention
deficit disorder, for reflex-sympathetic dystrophy, for post-
herpetic neuropathy, or for diabetic neuropathy. There is no valid
scientific evidence concerning the therapeutic equivalence of
gabapentin in any of these diseases. Parke-Davis is currently
conducting actual legitimate trials investigating the use of
gabapentin for relief of certain types of pain; however, these
trials are not complete, and the actual results of these trials

have not been made available to any of Parke-Davis’ medical liaison

employees.
COUNT I
DIRECT SALES TO VETERANS ADMINISTRATION
13. Parke-Davis had sold, and is selling, significant

quantities of gabapentin to the Veterans Administration for off-
label uses,

14. Parke-Davis is conducting, and has conducted, illegal
direct promotion of off-label uses of gabapentin directly to the
Veterans Administration. Parke-Davis has a special sales division
assigned to the Veterans Administration. That division has, ona

nationwide basis, illegally and directly promoted off-label uses of

gabapentin to Veterans Administration physicians and pharmacists.

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These illegal promotional activities have resulted in greatly
increased use of gabapentin by the Veterans Administration. Parke-
Davis’ sales to the Veterans Administration have been derived
through a pattern of fraud, to wit, the deliberate violation of the
laws and regulations of the United States and the deliberate active
concealment of those violations. Parke-Davis’ deliberate violation
of federal law used as a method of procuring sales of drugs to an
agency of the federal government constituted a False Claim within
the meaning of 31 U.S.C. § 3729.

15. Parke-Davis’ medical liaison and sales personnel have
promoted the off~label use of gabapentin by the Veterans
Administration by making false and unfounded claims to Veterans
Administration physicians and pharmacists concerning the safety and
efficacy of gabapentin for off-label uses. These claims of safety
and efficacy for off-label uses are false and made with reckless
disregard of the truth. Parke~Davis’ use of false statements
concerning the safety and efficacy of gabapentin used as a means of
procuring sales to the Veterans Administration constituted False
Claims within the meaning of 31 U.S.C. § 3729.

COUNT IT
DELIBERATE AVOIDANCE OF FDA REGULATIONS /
MEDICARE AND MEDICAID FINANCED SALES

16. A significant percentage of patients who use or have used
gabapentin for off-label purposes are persons whose prescriptions
are paid for in whole or in part by state administered medical
assistance programs which receive 90% reimbursement from the

federal government, to wit, medicare and medicaid.

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17. The medicare and medicaid programs of the federal
government include detailed provisions, by statute and regulation,
concerning reimbursement for prescription drugs, drug utilization
review, eligibility of various drugs for full federal participation
("FFP"), price controls on prescription drugs, and drug
manufacturer rebate agreements. These laws and regulations
include, inter alia, as set forth as 42 U.S.C. § 1395Y(c), that no
federal payment shall be made in the case of a prescription drug
for which the FDA has issued a notice of hearing regarding the
effectiveness of the drug. Thus, the taking of a regulatory action
by the FDA against the sale and promotion of a drug will, in
circumstances, immediately interrupt the flow of federal funds for
reimbursements of prescriptions written for the drug.

18. Direct promotion of off-label usage of a drug constitutes
"labeling" as defined by the food and drug laws of the United
States. It is reasonably certain, and Parke-Davis is aware, that
if the FDA became aware of its extensive program of illegal
promotion of off-label uses of gabapentin, the FDA would take
administrative action against Parke-Davis, including, among other
things, a notice of hearing regarding the effectiveness of
gabapentin for the promoted off-label uses. Such a notice would,
by federal statute, instantly interrupt the flow of federal funds
for reimbursement for off-label prescriptions.

19. Parke-Davis has, as alleged, actively concealed its off-

label promotion of gabapentin from the FDA. Said active

concealment is motivated by the desire to, and has had the effect

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of, preserving the flow of federal funds to reimburse gabapentin
prescriptions. Said active concealment constitutes a pattern of
fraudulent conduct through which federal payments are derived, and
constitutes False Claims within the meaning of 31 U.S.C. § 3729.
COUNT III
AVOIDING FEDERAL PRICE CONTROLS/
EXPERIMENTAL USE OF DRUG

20. Federal law, in particular 21 C.F.R. § 312.7, imposes
price controls on investigational new drugs used in clinical
trials. The regulations state that charging for an investigational
new drug is not permitted without FDA approval.

21. Parke-Davis has launched a nationwide illegal program of
experimentation with gabapentin. Although Parke-Davis has actually
commenced certain legitimate clinical trials of gabapentin to
control pain in limited circumstances, Parke~Davis has
simultaneously encouraged and caused many physicians to experiment
with gabapentin for off-label uses. These experimental programs
are informal, generally unscientific, and not reported to the FDA.
Parke-Davis has encouraged these experimental programs with offers
to physicians of cash incentives, medical liaison "assistance" in
drafting publications, and other benefits. These informal
experiments have been conducted for the dual purpose of increasing
sales of gabapentin while at the same time developing data for
possible use with the FDA. These informal experiments were
conducted by means of prescriptions to patients whose prescriptions

have been paid for, in a substantial number of cases, by medicare

and medicaid at regular prices.

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22. Parke~Davis’s deliberate avoidance of federal price
controls on the experimental investigational use of drugs has
caused financial harm to the federal government by inducing the
federal government to pay for drug prescriptions for which payment
is prohibited by federal law. Parke-Davis’ deliberate avoidance of
federal price controls on experimental use of drugs constitutes a
pattern of fraudulent conduct which induced payments by the federal
government, and constituted False Claims within the meaning of 31
U.S.C. § 3729.

COUNT IV
VIOLATING STATE FORMULARIES/
MEDICARE AND MEDICAID

23. Under the statutes and regulations establishing the
medicare and medicaid programs, the individual states are permitted
to establish drug utilization review boards and formularies which
define those prescription drugs and their uses for which a state
agency will make reimbursement under their medicare programs.
Federal law, in particular 42 U.S.C. § 1396r-8, requires a state
formulary to include medically accepted uses of prescription drugs
by reference to the publications set forth, in § 11, supra.

24. Many state medicare agencies intend not to reimburse for
prescription drugs for uses not set forth in the publications
referred to in @ 11, supra, in that the states do not intend to
spend money on prescriptions not recognized as medically necessary
in sources specified by federal law. However, many states lack the
technical ability to monitor precisely for medical diagnoses in the

case of individual prescriptions, and thus lack the technical

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ability to reject reimbursement for off-label uses of prescription
drugs which are not medically accepted according to the federally
specified publications. This lack of technical ability represents
a loop-hole in the scheme of the medicare and medicaid programs.

25. Parke-Davis has recognized and aggressively exploited
this loop-hole by means of a direct, illegal, nationwide program of
promotion of off-label use of gabapentin by physicians. Parke-
Davis has conducted this program of promotion knowing that
prescriptions for gabapentin are generally reimbursed by the state
medicare programs even though individual prescriptions for
gabapentin fall outside of state formularies because they are not
medically accepted.

26. Parke-Davis’ aggressive, illegal scheme of off-label
promotion has induced federal payments through a pattern of
fraudulent conduct by causing the states, and thus the federal
government, to pay out sums to claimants they did not intend, to
benefit. Parke-Davis’ conduct constitutes False Claims within the
meaning of 31 U.S.C. § 3729.

COUNT V
ILLEGAL KICKBACKS

27. Federal laws and regulations governing the medicare and
medicaid programs prohibit kick-~backs to physicians and medical
care providers, in particular 42 U.S.C. § 1320a~7 and 42 C.F.R. §
1001. "Kick-backs" have been defined as including payments,
gratuities, and other benefits paid to physicians who prescribe

prescription drugs by the manufacturers of the drugs.

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28. As part of its nationwide program of off-label promotion
of gabapentin, Parke-Davis has established a system of kick-backs
to physicians who are prescribers of large amounts of gabapentin.
These kick-backs are administered by the Parke-Davis sales
department, and frequently disguised as consultantships although
unrelated to any scientific or educational activity. The kick-~
backs have taken the form of cash payments, travel benefits,
entertainment, Olympics tickets, and other benefits. Parke-Davis
has established formal internal guidelines for the award of these
benefits to physicians which are based entirely on the amount of
prescriptions written by the physicians and the ability of the
physician to influence other physicians to begin prescribing
gabapentin for off-label uses.

29. These kick-backs are strictly illegal and have had the
effect of greatly increasing the amount of gabapentin
prescriptions, and indirectly the amount of money spent by the
federal government for reimbursement of prescriptions covered by
medicare. The payment of these kick-backs represents the
inducement of federal payments through a pattern of fraudulent
conduct, and constitute False Claims within the meaning of 31
U.S.C. § 3729.

COUNT VI
FALSE STATEMENTS TO PHYSICIANS

30. AS part of its illegal off-market promotion of

gabapentin, Parke-Davis has instructed and caused its sales

personnel and its medical liaison employees to make false

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statements to physicians, and to provide physicians with written
materials containing false statements, concerning the safety and
efficacy of gabapentin for off-label uses. These statements were
made with the intent of, and had the effect of, inducing physicians
to increase their off-label prescription of gabapentin. This
increased off-label prescription of gabapentin caused harm to the
federal government by increasing the number of medicare claims for
gabapentin prescriptions.

31. The false statements made by Parke-Davis employees to
physicians have included representations that scientific evidence
exists that gabapentin is an effective remedy for pain, bi~polar
disorder, attention deficit disorder, reflex sympathetic dystrophy,
post herpetic neuralgia, and mono-therapy for seizures. The false
statements also include representations that gabapentin is known to
be safeand effective in dosages of up to 4800 mg/d. in all
populations, The false statements include representations that
clinical trials are ongoing or planned with respect to each of the
above off-label uses. Each of these statements is unsupported by
any legitimate scientific evidence.

32. Parke-Davis’ false statements made to physicians were a
pattern of fraud designed to induce payments by the federal
government, and constituted False Claims within the meaning of 31
U.S.C. § 3729.

COUNT VII
AVOIDING PRICE CONTROLS
BASED ON THERAPEUTIC EQUIVALENCY

33. The federal laws establishing the medicare and medicaid

programs contain drug price controls based on therapeutic

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equivalencies, as established by the FDA in an official publication
(42 U.S.C. § 1396r-8). Parke-Davis’ illegal program of off-label
promotion and avoidance of proper FDA procedures for approval of a
new drug use has resulted in the lack of any classification of
gabapentin for therapeutic equivalency as to its off-label uses,
such as pain control and control of bi-polar disorder. [In fact,
gabapentin is relatively ineffective for pain control, bi-polar
disorder, or mono-therapy for seizures. As a result, gabapentin has
not been subject to federal medicare price limits based on
therapeutic equivalency.

34. The federal government has been harmed by this avoidance
of a rating of gabapentin for therapeutic equivalency because other
less expensive drugs are capable of conferring the same benefit as
gabapentin for various off-label uses. If gabapentin were properly
rated for therapeutic equivalency, the states and the federal
government would be able to achieve the same benefits for less
money.

35. Parke-Davis’s illegal scheme of off-label promotion is a
deliberate avoidance of federal price controls based on therapeutic
equivalency, and constitutes inducement of federal payments through
a pattern of fraudulent conduct and constitutes a False Claim
within the meaning of 31. U.S.C. § 3729.

COUNT VIII
FRUSTRATION OF FEDERAL POLICY
36. All of the conduct referred to above, to wit, off-label

promotion of gabapentin in violation of FDA rules, payment of

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illegal kick-backs to physicians, deliberate avoidance of federal
price controls of experimental drugs and drugs with therapeutic
equivalents, inducement of physicians and the Veterans
Administration to prescribe or purchase gabapentin by use of false
statements, and avoidance of state formulary restrictions, are
substantial and deliberate frustrations of clear federal law,
regulation, and policy concerning the promotion and sale of
prescription drugs.

37. Parke-Davis has sold more than $50 million of gabapentin
knowing that such sales were directly or indirectly paid for by the
federal government, and knowing that such sales and the promotions
leading to them represented a direct frustration and violation of
federal law, regulation and policy, and knowing that the federal
government was paying out sums on behalf of beneficiaries it did
not intend to benefit, to wit, veterans and medicare and medicaid
patients who were prescribed experimental or off-label uses of
gabapentin as a result of Parke-Davis! illegal promotions and
schemes. Parke-Davis’ overall pattern of conduct aimed at avoiding
federal law while inducing the payment of federal funds was pattern
of fraud to induce federal payments and constituted False Claims
within the meaning of 31 U.S.C. § 3729.

COUNT IX
ILLEGAL PROMOTION OF ACCUPRIL

38. Another prescription drug manufactured by Parke~Davis is

accupril. Although Parke-Davis has sought, and recently obtained

approval from the FDA for additional uses of accupril, Parke-Davis

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has, over the past year, used the same illegal means and methods of
promoting the off-label use of accupril which it has used, as
alleged above, to promote gabapentin. A substantial portion of all
accupril prescriptions are paid for, indirectly, by the federal
government under the medicare and medicaid programs. Parke-Davis’
use of illegal and prohibited methods of promoting accupril has
caused direct financial harm to the federal government by
substantially increasing the amount of money spent = on
reimbursements of accupril prescriptions. Such illegal promotion
constitutes a pattern of fraudulent activity to induce claims
against the federal government, and is a False Claim within the
meaning of 31 U.S.C. § 3729.

WHEREFORE, the plaintiff demands judgment on behalf of the
United States, together with all costs, fees, awards, and interest

allowed by 31 U.S.C. § 3730.
PLAINTIFF DEMANDS A JURY TRIAL

Respectful} y Submitted

Dated: \

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